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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA

RACHEL STANLEY, an individual    )
                                 )
                    Plaintiff,   )
                                 )                          CASE NO. 2:21-cv-389
          vs.                    )
                                 )
                                 )
COOK INCORPORATED; COOK MEDICAL )
INCORPORATED; COOK GROUP         )                          JURY TRIAL DEMANDED
INCORPORATED; COOK MEDICAL, LLC; )
WILLIAM COOK EUROPE APS,         )
                                 )
                    Defendants.  )


                                          COMPLAINT

       Plaintiff Rachel Stanley, by and through her undersigned attorney, hereby sues

Defendants Cook Incorporated, Cook Incorporated a/k/a Cook Medical Incorporated, Cook Group

Incorporated, Cook Medical, LLC, and William Cook Europe APS, and alleges as follows:

                                            PARTIES

       1.      Plaintiff Rachel Stanley (“Plaintiff”) at all times relevant to this action, resided in

the State of Virginia.

       2.      Defendant Cook Incorporated, is incorporated under the laws of the State of Indiana

with its principle place of business located at 750 Daniels Way, Bloomington, Indiana 47404.

Cook Incorporated was and is a foreign corporation doing business in the State of Virginia,

including the City of Norfolk. At all times relevant to this action, Cook Incorporated designed, set

specifications, manufactured, prepared, compounded, assembled, processed, promoted, marketed,

distributed and/or sold the inferior vena cava filter (“IVC Filter”) known as the Celect™ Vena


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Cava Set to be implanted in patients throughout the United States, including Virginia. At all times

relevant hereto, Defendant Cook Incorporated was engaged in business in Virginia and has

conducted substantial business activities and derived substantial revenue from within the State of

Virginia.   Defendant has also carried on solicitations or service activities in Virginia. The

registered agent for Cook Incorporated is Corporation Service Company, 251 East Ohio Street,

Suite 500, Indianapolis, IN 46204. Cook Incorporated may be served with process by delivering

a Summons with a copy of this Complaint attached thereto, to the Virginia Secretary of State.

However, a request to waive service will be delivered in accordance with Fed. R. Civ. P. 4(d).

       3.      Defendant Cook Incorporated is the parent company of Defendant Cook Medical

Incorporated. Defendant Cook Medical Incorporated was incorporated under the laws of the State

of Indiana with its principle place of business located at 111 Monument Circle, Suite 4000,

Indianapolis, Indiana 46204. On or about Janaury 1, 2014 Cook Medical Incorporated converted

into an Indiana limited liability corporation named Cook Medical, LLC. At all times relevant to

this cause of action Cook Medical Incorporated was a foreign corporation doing business in the

state of Virginia, including Norfolk City County. At all times relevant to this action, Cook Medical

Incorporated designed, set specifications, manufactured, prepared, compounded, assembled,

processed, promoted, marketed, distributed and/or sold the IVC filter known as the Celect™ Vena

Cava Set to be implanted in patients throughout the United States, including Virginia. At all times

relevant hereto, Defendant Cook Medical Incorporated was engaged in business in Virginia has

conducted substantial business activities and derived substantial revenue from within the State of

Virginia. This Defendant has also carried on solicitations or service activities in Virginia. The

registered agent for Cook Medical Incorporated is Corporation Service Company, 100 Shockoe

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Slip, 2nd Floor, Richmond, VA 23219. Cook Medical Incorporated may be served with process by

delivering a Summons with a copy of this Complaint attached thereto, to its registered agent.

However, a request to waive service will be delivered in accordance with Fed. R. Civ. P. 4(d).

       4.      Defendant Cook Group Incorporated, is incorporated under the laws of the State of

Indiana with its principle place of business located at 750 N. Daniels Way, Bloomington, IN

47404. Cook Group Incorporated is a foreign corporation doing business in the State of Virginia,

including the City of Norfolk. At all times relevant to this action, Cook Group Incorporated

designed, set specifications, manufactured, prepared, compounded, assembled, processed,

promoted, marketed, distributed and sold the IVC filter known as the Celect ™ Vena Cava Set to

be implanted in patients throughout the United States, including Virginia. At all times relevant

hereto, Defendant Cook Group Incorporated was engaged in business, has conducted substantial

business activities and derived substantial revenue from within the State of Virginia. Defendant

has also carried on solicitations or service activities in Virginia. The registered agent for Cook

Group Incorporated is Corporation Service Company, 251 East Ohio Street, Suite 500,

Indianapolis, IN 46204. Cook Group Incorporated may be served with process by delivering a

Summons with a copy of this Complaint attached thereto, to the Virginia Secretary of State.

However, a request to waive service will be delivered in accordance with Fed. R. Civ. P. 4(d).

       5.      Defendant Cook Incorporated is the parent company, sole shareholder and only

member of Defendant Cook Medical, LLC. Cook Incorporated is an Indiana Corporation with its

principle place of business in Indiana. Cook Medical, LLC is a limited liability company

incorporated under the laws of the State of Indiana with its principle place of business at 1025

West Acuff Road, Bloomington, IN 4740. Cook Medical, LLC is a foreign limited liability

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corporation which at all time relevant to this cause of action was doing business in the State of

Virginia, including Norfolk City County. At all times relevant to this action, Cook Medical, LLC

designed, set specifications, manufactured, prepared, compounded, assembled, processed,

promoted, marketed, distributed and/or sold the IVC filter known as the Celect ™ Vena Cava Set

to be implanted in patients throughout the United States, including Virginia. At all times relevant

hereto, Cook Medical, LLC was registered to do business with the State of Virginia. At all times

relevant hereto, Defendant Cook Medical LLC was engaged in business in Virginia, has conducted

substantial business activities and derived substantial revenue from within the State of Virginia.

Defendant has also carried on solicitations or service activities in Virginia. The registered agent

for Cook Medical, LLC is Corporation Service Company, 100 Shockoe Slip, 2nd Floor, Richmond,

VA 23219. Cook Medical, LLC may be served with process by delivering a Summons with a copy

of this Complaint attached thereto, to its registered agent. However, a request to waive service

will be delivered in accordance with Fed. R. Civ. P. 4(d).

       6.      Defendant William Cook Europe ApS (“Defendant Cook Europe”) is organized

under the laws of Denmark and its business form most closely resembles that of an American

corporation. It is a foreign corporation that regularly conducts business in the State of Virginia.

Defendant William Cook Europe’s headquarters is based at Sandet 6 Bjaeverskov 4632, Denmark.

A request to waive service will be delivered in accordance with Fed. R. Civ. P. 4(d).

       7.      Defendants Cook Incorporated, Cook Incorporated a/k/a Cook Medical

Incorporated, Cook Group Incorporated, Cook Medical, LLC and William Cook Europe ApS shall

be referred to herein individually by name or collectively as the “Cook Defendants.”




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        8.      At all times alleged herein, Cook Defendants include and included any and all

parent companies, subsidiaries, affiliates, divisions, franchises, partners, joint venturers, and

organizational units of any kind, their predecessors, successors, and assigns and their officers,

directors, employees, agents, representatives, and any and all other persons acting on their behalf.

        9.      At all times herein mentioned, each of the Cook Defendants were the agents,

servants, partners, predecessors in interest, and joint venturers of each other, and were at all times

operating and acting with the purpose and scope of said agency, service, employment, partnership,

joint enterprise, and/or joint venture.

                                   JURISDICTION AND VENUE

        10.     Personal jurisdiction is proper pursuant to Virginia Code §8.01-328.1 and 28 U.S.C.

§ 1332. The Cook Defendants have conducted and continue to conduct substantial and systematic

business activities related to their IVC filters, including the Celect ™ Vena Cava Filter (hereinafter

“Cook Celect filter”) at issue in this case, in this jurisdiction. Such activities include, but are not

limited to: (a) sales of IVC filters, including the Cook filter at issue in this case, in this jurisdiction;

(b) hiring, training, and deploying employees, including managers and sales representatives, in

this jurisdiction; (c) advertising and marketing of their IVC filters, including the Cook filter at

issue in this case, in this jurisdiction; (d) maintenance of company files and equipment relating to

the Cook filter at issue in this case, in this jurisdiction; (e) payment of employee salaries in this

jurisdiction; and (f) maintenance of a website directed to all states, including Virginia. Defendant

Cook Medical LLC is registered to do business in the State of Virginia. The Cook Defendants

committed tortious acts within the State of Virginia. By their acts and/or omissions outside the

State of Virginia, the Cook Defendants also caused injury to persons or property within the State

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of Virginia at or about the time of the Plaintiff’s injury; while the Cook Defendants were engaged

in solicitation or service activities within the State of Virginia; and/or while products, materials,

or things processed, serviced, or manufactured by the Cook Defendants were used or consumed

within Virginia in the ordinary course of commerce, trade, or use.

        11.     There is complete diversity between the parties and the amount in controversy

exceeds $75,000 exclusive of interest and costs. See 28 U.S.C. § 1332.

        12.     Venue is properly laid pursuant to 28 U.S.C. § 1391(b)(2) and (d), as the Cook

Defendants’ Cook filter was marketed, sold, implanted and failed in Norfolk City County, Virginia

and the Defendants are corporations subject to personal jurisdiction in the district.

        13.     Plaintiff’s claims in this action are brought solely under state law. Plaintiff does

not herein bring, assert, or allege, either expressly or impliedly, any causes of action arising under

any federal law, statute, regulation, or provision. Thus, there is no federal jurisdiction in this action

on the basis of a federal question under 28 U.S.C. § 1331.

                                ALTERNATIVE ALLEGATIONS

        14.     To the extent any allegation herein is inconsistent with any other allegation, such

inconsistent allegations are pleaded in the alternative pursuant to Fed. R. Civ. P. 1.110(a).

                            GENERAL FACTUAL ALLEGATIONS

        15.     Plaintiff brings this case for serious, life-threatening injuries she suffered, and will

continue to suffer, as a result of the Cook Defendants’ surgically implanted medical device, the

Cook Celect filter, that was implanted at Lawrence General Hospital on or about March 20, 2009.

        16.     The Cook Defendants design, research, develop, manufacture, test, market,

advertise, promote, distribute, and sell products such as IVC filters that are sold to and marketed

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as both permanent and retrievable devices to prevent, among other things, recurrent pulmonary

embolism via placement in the vena cava. One such product is the Cook Celect IVC filter.

       17.     The Cook Defendants sought Food and Drug Administration (“FDA”) clearance to

market the Cook Celect Filter device and/or its components under Section 510(k) of the Medical

Device Amendment.

       18.     On or about April 20, 2007, the Cook Defendants obtained FDA clearance to

market the Cook Celect filter device and/or its components under Section 510(k) of the Medical

Device Amendment as a permanent filter.

       19.     On or about April 3, 2009, the Cook Defendants obtained FDA clearance to market

the Cook Celect filter device and/or its components under Section 510(k) of the Medical Device

Amendment as a retrievable filter.

       20.     Section 510(k) allows marketing of medical devices if the manufacturer claims the

device is substantially equivalent to other legally marketed predicate devices without formal

review for the safety or efficacy of said device. The device is then cleared by the FDA under

Section 510(k). The Cook Defendants claimed that the Cook Celect filter was substantially

equivalent to the Gunther Tulip IVC filter.

       21.     An IVC filter like the Cook Celect filter is a device ostensibly designed to filter

blood clots (called “thrombi”) that would otherwise travel from the lower portions of the body to

the heart and lungs. IVC filters are marketed as being safely implanted, either temporarily or

permanently, within the vena cava.

       22.     The inferior vena cava is a vein that returns blood to the heart from the lower portion

of the body. In certain people, and for various reasons, thrombi travel from vessels in the legs and

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pelvis, through the vena cava into the lungs. These thrombi can develop in the deep leg veins. The

thrombi are called “deep vein thrombosis” or DVT. If the thrombi reach the lungs, they are

considered “pulmonary emboli” or PE.

        23.     An IVC filter, like the Cook Celect filter, is ostensibly designed to prevent

thromboembolic events by filtering or preventing blood clots/thrombi from traveling to the heart

and/or lungs.

        24.     The Cook Celect filter has four (4) anchoring struts for fixation and eight (8)

independent secondary struts said to improve self-centering and clot trapping.

        25.     On or about March 20, 2009, Plaintiff was implanted with a Cook Celect IVC filter

at Lawrence General Hospital in Lawrence, Massachusetts. The Cook filter placed in Plaintiff was

stated to be appropriate for use as a permanent filter or a retrievable filter.

        26.     On or about July 17, 2019, Plaintiff underwent a computerized tomography scan

(“CT scan”) of her abdomen in Norfolk, Virginia.

        27.     On or about August 9, 2019, Plaintiff was informed that the CT scan revealed that

the IVC filter had, in fact, had perforated.

        28.     On or about August 12, 2019, Plaintiff underwent surgery to have the IVC filter

removed.

        29.     Plaintiff’s injury was inherently undiscoverable or objectively verifiable such that,

despite Plaintiff’s reasonable diligence, she was unable to discover her injury until on or about

August 9, 2019.

        30.     Plaintiff faces numerous health risks, including the risks of death. Plaintiff will

require ongoing medical care and monitoring for the rest of her life.

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       31.      At all times relevant hereto, the Cook Celect filter was widely advertised and

promoted by the Cook Defendants as a safe and effective treatment for prevention of recurrent

pulmonary embolism via placement in the vena cava.

       32.      At all times relevant hereto, the Cook Defendants knew its retrievable IVC filters

were defective and knew that the defect was attributable to the design’s failure to withstand the

normal anatomical and physiological loading cycles exerted in vivo.

       33.      The Cook Defendants failed to disclose to physicians, patients, or Plaintiff that its

retrievable IVC filters, including the Celect filter, were subject to breakage, collapse, causing

thrombus, and/or the appropriate degree of risk of damage to the vena cava wall.

       34.      At all times relevant hereto, the Cook Defendants continued to promote their

retrievable IVC filters, including the Celect filter, as safe and effective, even though the clinical

trials that had been performed were not adequate to support long- or short-term efficacy.

       35.      The Cook Defendants concealed the known risks and failed to warn of known or

scientifically knowable dangers and risks associated with its IVC filters, including the Celect filter,

as aforesaid.

       36.      At all times relevant hereto, the Cook Defendants failed to provide sufficient

warnings and instructions that would have put Plaintiff and the general public on notice of the

dangers and adverse effects caused by implantation of the Cook Celect filter, including, but not

limited to, the design’s failure to withstand the normal anatomical and physiological loading cycles

exerted in vivo.

       37.      The Cook Celect filter was designed, manufactured, distributed, sold, and/or

supplied by the Cook Defendants, and was marketed while defective due to the inadequate

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warnings, instructions, labeling, and/or inadequate testing in light of the Cook Defendants

knowledge of the product’s failure and serious adverse events.

        38.     At all times relevant hereto, the officers and/or directors of the Cook Defendants

named herein participated in, authorized, and/or directed the production and promotion of the

aforementioned products when they knew or should have known of the hazardous and dangerous

propensities of said products, and thereby actively participated in the tortious conduct that resulted

in the injuries suffered by Plaintiff.

                DISCOVERY RULE AND FRAUDULENT CONCEALMENT

        39.     Plaintiff incorporates by reference the factual portion of this petition as if fully set

forth herein and additionally, or in the alternative, if same be necessary, alleges as follows.

        40.     Plaintiff pleads that the discovery rule should be applied to toll the running of the

statute of limitations until Plaintiff knew, or through the exercise of reasonable care and diligence

should have known, of facts indicating that Plaintiff had been injured, the cause of the injury, and

the tortuous nature of the wrongdoing that caused the injury.

        41.     Despite diligent investigation by Plaintiff into the cause of her injuries, including

consultations with Plaintiff’s medical providers, the nature of Plaintiff’s injuries and damages and

their relationship to the Cook Celect filter and the Cook Defendants’ wrongful conduct was not

discovered, and through reasonable care and due diligence could not have been discovered, until

a date within the applicable statute of limitations for filing Plaintiff’s claims. Therefore, under

appropriate application of the discovery rule, Plaintiff’s suit was filed well within the applicable

statutory limitations period.




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         42.   Any applicable statutes of limitation have been tolled by the knowing and active

concealment and denial of material facts known by the Cook Defendants when they had a duty to

disclose those facts. The Cook Defendants’ purposeful and fraudulent acts of concealment have

kept Plaintiff ignorant of vital information essential to the pursuit of her claims, without any fault

or lack of diligence on Plaintiff’s part, for the purpose of obtaining delay on Plaintiff’s part in

filing on her causes of action. The Cook Defendants’ fraudulent concealment did result in such

delay.

         43.   The Cook Defendants are estopped from relying on the statute of limitations

defense because the Cook Defendants failed to timely disclose, among other things, facts

evidencing the defective and unreasonably dangerous nature of the Celect Filter.

         44.   At all times relevant to this action, the Cook Defendants were under a continuing

duty to disclose the true character, quality and nature of the device that was implanted in Plaintiff,

but instead they concealed them. The Cook Defendants’ conduct, as described in this complaint,

amounts to conduct purposely committed, which it must have realized was dangerous, heedless

and reckless, without regard to the consequences or the rights and safety of Plaintiff.

                           CORPORATE/VICARIOUS LIABILITY

         45.   At all times herein mentioned, the Cook Defendants were agents, servants, partners,

aiders and abettors, co-conspirators and/or joint venturers, and were at all times operating and

acting within the purpose and scope of said agency, service, employment, partnership, conspiracy

and/or joint venture and rendered substantial assistance and encouragement to each other, knowing

that their collective conduct constituted a breach of duty owed to the Plaintiff.




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        46.     At all times herein mentioned, there existed a continuing unity of interest in

ownership between the Cook Defendants such that any individuality and separateness between

them have ceased and these Cook Defendants are alter egos. Adherence to the fiction of the

separate existence of these Cook Defendants as entities distinct from each other will permit an

abuse of the corporate privilege and would sanction a fraud and/or would promote injustice.

        47.     At all times herein mentioned, the Cook Defendants, and each of them, were

engaged in the business of, or were successors in interest to, entities engaged in the business of

researching, designing, formulating, compounding, testing, manufacturing, producing, processing,

assembling, inspecting, distributing, marketing, labeling, promoting, packaging, prescribing

and/or advertising for sale, and selling products for use by the Plaintiff. As such, each Defendant

is individually, as well as jointly and severally, liable to the Plaintiff for Plaintiff’s damages.

        48.     At all times herein mentioned, the officers and/or directors of the Cook Defendants

named herein participated in, authorized and/or directed the production, marketing, promotion and

sale of the aforementioned products when they knew, or with the exercise of reasonable care and

diligence should have known, of the hazards and dangerous propensities of said products, and

thereby actively participated in the tortious conduct that resulted in the injuries suffered by the

Plaintiff.

                                             COUNT I
                                           NEGLIGENCE

        49.     Plaintiff re-alleges and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.




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        50.      At all times relevant to this cause of action, the Cook Defendants were in the

business of designing, developing, setting specifications, manufacturing, marketing, selling, and

distributing the Cook Celect filter, including the Celect filter at issue in this case.

        51.      The Cook Defendants designed, manufactured, marketed, inspected, labeled,

promoted, distrusted and sold the Cook filter that was implanted into Plaintiff.

        52.      The Cook Defendants had a duty to exercise reasonable and prudent care in the

development, testing, design, manufacture, inspection, marketing, labeling, promotion,

distribution and sale of the Cook Celect filter so as to avoid exposing others to foreseeable and

unreasonable risks of harm.

        53.      The Cook Defendants knew or should have known that the Cook Celect filter was

dangerous or was likely to be dangerous when used in its intended or reasonably foreseeable

manner.

        54.      At the time of manufacture and sale of the Cook Celect filter (2007 until Present),

the Cook Defendants knew or should have known that:

              a. The Celect filter was designed and manufactured in such a manner so as to present
                 an unreasonable risk of fracture of portions of the device;

              b. The Celect filter was designed and manufactured so as to present an unreasonable
                 risk of migration of the device and/or portions of the device;

              c. The Celect filter was designed and manufactured so as to present an unreasonable
                 risk of the device tilting and/or perforating the vena cava wall;

              d. The Celect filter was designed and manufactured to have unreasonable and
                 insufficient strength or structural integrity to withstand normal placement within
                 the human body; and/or

              e. There were no clinical trials which adequately established the efficacy of filter in
                 preventing pulmonary embolisms.


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       55.      At the time of manufacture and sale of the Cook Celect filter (2007 until Present),

the Cook Defendants knew or should have known that using the Celect filter in its intended use or

in a reasonably foreseeable manner created a significant risk of a patient suffering severe health

side effects, including, but not limited to: hemorrhage; cardiac/pericardial tamponade; thrombus;

cardiac arrhythmia and other symptoms similar to myocardial infraction; perforations of tissue,

vessels and organs, as well as risks of other severe personal injuries and diseases that are permanent

in nature, including, but not limited to: death, physical pain and mental anguish, scarring and

disfigurement, diminished enjoyment of life; continued medical care and treatment due to chronic

injuries/illness proximately caused by the device; and the continued risk of requiring additional

medical and surgical procedures including general anesthesia, with the attendant risk of life-

threatening complications.

       56.      The Cook Defendants knew or should have known that consumers of the Cook

Celect filter would not realize the danger associated with using the device in its intended use and/or

in a reasonably foreseeable manner.

       57.      The Cook Defendants breached their duty to exercise reasonable and prudent care

in the development, testing, design, manufacture, inspection, marketing, labeling, promotion,

distribution and sale of the Cook Celect filter in, among others, the following ways:

             a. Designing and distributing a product which the Cook Defendants knew or should
                have known that the likelihood and severity of potential harm from the product
                exceeded the burden of taking safety measures to reduce or avoid harm;

             b. Designing and distributing a product in which they knew or should have known
                that the likelihood and severity of potential harm from the product exceeded the
                likelihood of potential harm from other devices available for the same purpose;




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             c. Failing to use reasonable care in manufacturing the product and producing a
                product that differed from their design or specifications or from other typical units
                from the same production line;

             d. Failing to use reasonable care to warn or instruct, including pre- and post-sale,
                Plaintiff, Plaintiff’s physicians, Plaintiff’s agents or the general health care
                community about the Celect filter’s substantially dangerous condition or about facts
                making the product likely to be dangerous;

             e. Failing to perform reasonable pre- and post-market testing of the Celect filter to
                determine whether or not the product was safe for its intended use;

             f. Failing to provide adequate instructions, guidelines, and safety precautions,
                including pre- and post-sale, to those persons to whom it was reasonably
                foreseeable would prescribe, use, and implant the Celect filter;

             g. Advertising, marketing and recommending the use of the Celect filter, while
                concealing and failing to disclose or warn of the dangers known by Cook
                Defendants to be connected with and inherent in the use of the Celect filter;

             h. Representing that the Celect filter was safe for its intended use when in fact, the
                Cook Defendants knew and should have known the product was not safe for its
                intended purpose;

             i. Continuing to manufacture and sell the Celect filter with the knowledge that the
                product was dangerous and not reasonably safe;

             j. Failing to use reasonable and prudent care in the design, research, manufacture, and
                development of the Celect filter so as to avoid the risk of serious harm associated
                with the use of the Celect filter;

             k. Advertising, marketing, promoting and selling the Celect filter for uses other than
                as approved and indicated in the product’s label;

             l. Failing to establish an adequate quality assurance program used in the
                manufacturing of the Celect filter; and

             m. Failing to establish and maintain an adequate post-market surveillance program.

       58.      A reasonable manufacturer, distributor, or seller under the same or similar

circumstances would not have engaged in the aforementioned acts and omissions.




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        59.     As a direct and proximate result of the foregoing negligent acts and omissions by

the Cook Defendants, Plaintiff has suffered and will continue to suffer serious physical injuries,

pain and suffering, mental anguish, medical expenses, loss of enjoyment of life, disability, and

other losses, in an amount to be determined at trial.

                                     COUNT II
                    STRICT PRODUCTS LIABILITY – FAILURE TO WARN

        60.     Plaintiff re-alleges and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.

        61.     The Cook Defendants designed, set specifications, manufactured, prepared,

compounded, assembled, processed, marketed, labeled, distributed, and sold the Cook Celect filter,

including the one implanted into Plaintiff, into the stream of commerce and in the course of same,

directly advertised and marketed the device to consumers or persons responsible for consumers.

        62.     At the time the Cook Defendants designed, manufactured, prepared, compounded,

assembled, processed, marketed, labeled, distributed, and sold the device into the stream of

commerce, the Cook Defendants knew or should have known the device presented an unreasonable

danger to users of the product when put to its intended and reasonably anticipated use.

        63.     Specifically, the Cook Defendants knew or should have known at the time they

manufactured, labeled, distributed and sold the Cook filter that was implanted into Plaintiff, that

the Cook Celect filter, inter alia, posed a significant and higher risk than other similar devices of

device failure (fracture, migration, tilting, and perforation of the vena cava wall) and resulting in

serious injuries.




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        64.    Consequently, the Cook Defendants had a duty to warn of the risk of harm

associated with the use of the device and to provide adequate instructions on the safe and proper

use of the device.

        65.    The Cook Defendants further had a duty to warn of dangers and proper safety

instructions that they became aware of even after the device was distributed and implanted into

Plaintiff.

        66.    Despite their duties, the Cook Defendants failed to adequately warn of material

facts regarding the safety and efficacy of the Cook Celect filter, and further failed to adequately

provide instructions on the safe and proper use of the device. These failures rendered the Cook

filter unreasonably dangerous to Plaintiff.

        67.    No health care provider, including Plaintiff’s, or patient would have used the Cook

filter in the manner directed, had those facts been made known to the prescribing healthcare

providers and/or ultimate users of the device.

        68.    The health risks associated with the device as described herein are of such a nature

that ordinary consumers would not have readily recognized the potential harm.

        69.    Plaintiff and Plaintiff’s health care providers used the Cook filter in a normal,

customary, intended, and foreseeable manner, namely as a surgically implanted device used to

prevent pulmonary embolisms.

        70.    Therefore, the Cook filter implanted into Plaintiff was defective and unreasonably

dangerous at the time of release into the stream of commerce due to inadequate warnings, labeling

and/or instructions accompanying the product.




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       71.     The Cook filter implanted into Plaintiff was in the same condition as when it was

manufactured, inspected, marketed, labeled, promoted, distributed and sold by the Cook

Defendants.

       72.     As a direct and proximate result of the Cook Defendants’ lack of sufficient warning

and/or instructions, Plaintiff has suffered and will continue to suffer serious physical injuries, pain

and suffering, mental anguish, medical expenses, loss of enjoyment of life, disability, and other

losses, in an amount to be determined at trial.

                                     COUNT III
                      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

       73.     Plaintiff re-alleges and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.

       74.     At all times relevant to this action, the Cook Defendants developed, tested,

designed, manufactured, inspected, labeled, promoted, distributed and sold into the stream of

commerce the Cook Celect filter, including the one implanted in Plaintiff.

       75.     The Cook Celect filter was expected to, and did, reach its intended consumers

without substantial change in the condition in which it was in when it left the Cook Defendants’

possession. In the alternative, any changes that were made to Cook filter implanted in Plaintiff

were reasonably foreseeable to the Cook Defendants.

       76.     The Cook filter implanted into Plaintiff was defective in design in that it failed to

perform as safely as persons who ordinarily use the product would have expected at the time of

use and its risks of harm exceeded its claimed benefits.




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       77.     The Cook Defendants knew that safer alternative designs were available that would

have prevented or significantly reduced the risk of the injury presented by Celect filter. Further, it

was economically and technologically feasible at the time the Cook filter left the control of the

Cook Defendants to prevent or reduce the risk of such a dangerous event by application of existing,

or reasonably achievable, scientific knowledge.

       78.     Plaintiff and Plaintiff’s health care providers used the Cook filter in a manner that

was reasonably foreseeable to the Cook Defendants.

       79.     Neither Plaintiff nor Plaintiff’s health care providers could have, by the exercise of

reasonable care, discovered the Cook filter’s defective condition or perceived its unreasonable

dangers prior to Plaintiff’s implantation with the device.

       80.     The defective design of the Cook filter was a producing cause of Plaintiff’s injuries.

       81.     As a result of the Cook Filter’s defective design, Plaintiff has suffered and will

continue to suffer serious physical injuries, pain and suffering, mental anguish, medical expenses,

loss of enjoyment of life, disability, and other losses, in an amount to be determined at trial.

                                 COUNT IV
             STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT

       82.     Plaintiff re-alleges and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.

       83.     The Cook Defendants designed, set specifications, manufactured, prepared,

compounded, assembled, processed, marketed, labeled, distributed and sold the Cook Celect filter

that was implanted into Plaintiff.




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       84.     The Cook filter implanted into Plaintiff contained a condition or conditions, which

the Cook Defendants did not intend, at the time it left the Cook Defendants’ control and possession.

       85.     Plaintiff and Plaintiff’s health care providers used the Cook filter in a manner that

was reasonably foreseeable to Cook Defendants.

       86.     As a result of this condition or these conditions, the Cook filter injured Plaintiff and

failed to perform as safely as the ordinary consumer would expect when used in a reasonably

foreseeable manner.

       87.     As a direct and proximate result of the Cook filter’s manufacturing defects, Plaintiff

has suffered and will continue to suffer serious physical injuries, pain and suffering, mental

anguish, medical expenses, loss of enjoyment of life, disability, and other losses, in an amount to

be determined at trial.

                                COUNT V
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

       88.     Plaintiff re-alleges and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.

       89.     At all times relevant to this action, the Cook Defendants designed, researched,

developed, manufactured, tested, labeled, inspected, advertised, promoted, marketed, sold

distributed into the stream of commerce the Cook Celect filter, including the one implanted in

Plaintiff, for use as a surgically implanted device used to prevent pulmonary embolisms and for

uses other than as approved and indicated in the product’s instructions, warnings, and labels.

       90.     At the time and place of sale, distribution, and supply of the Cook filter to Plaintiff

by way of Plaintiff’s health care providers and medical facilities, the Cook Defendants expressly


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represented and warranted, by labeling materials submitted with the product, that the Cook filter

was safe and effective for its intended and reasonably foreseeable use.

       91.      The Cook Defendants knew of the intended and reasonably foreseeable use of the

Cook filter at the time they marketed, sold, and distributed the product for use by Plaintiff, and

impliedly warranted the product to be of merchantable quality, and safe and fit for its intended use.

       92.      The Cook Defendants impliedly represented and warranted to the healthcare

community, Plaintiff and Plaintiff’s health care providers, that the Cook filter was safe and of

merchantable quality and fit for the ordinary purpose for which the product was intended and

marketed to be used.

       93.      The representations and implied warranties made by the Cook Defendants were

false, misleading, and inaccurate because the Celect filter was defective, unsafe, unreasonably

dangerous, and not of merchantable quality, when used in its intended and/or reasonably

foreseeable manner. Specifically, at the time of Plaintiff’s purchase of the Cook filter from the

Cook Defendants, through Plaintiff’s physicians and medical facilities, it was not in a

merchantable condition in that:

             a. It was designed in such a manner so as to be prone to an unreasonably high rate of
                failure, including fracture, migration, excessive tilting, causing thrombosis and/or
                perforation of bodily organs;

             b. It was designed in such a manner so as to result in an unreasonably high rate of
                injury to the organs and anatomy; and

             c. It was manufactured in such a manner so that the Cook filter was inadequately,
                improperly and inappropriately prepared and/or finished, so as to be prone to an
                unreasonably high rate of failure and/or causing the device to fail.

       94.      Plaintiff and Plaintiff’s health care providers reasonably relied on the superior skill

and judgment of the Cook Defendants as the designers, researchers and manufacturers of the

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product, as to whether the Cook filter was of merchantable quality, safe and fit for its intended use

and also relied on the implied warranty of merchantability and fitness for the particular use and

purpose for which the Cook filter was manufactured and sold.

       95.     The Cook Defendants placed the Cook filter into the stream of commerce in a

defective, unsafe, and unreasonably dangerous condition, and the product was expected to and did

reach Plaintiff without substantial change in the condition in which the Cook filter was

manufactured and sold.

       96.     The Cook Defendants breached their implied warranty because the Cook filter was

not fit for its intended use and purpose.

       97.     As a direct and proximate result of the Cook Defendants breaching their implied

warranties, Plaintiff has suffered and will continue to suffer serious physical injuries, pain and

suffering, mental anguish, medical expenses, loss of enjoyment of life, disability, and other losses,

in an amount to be determined at trial.

                                      COUNT VI
                            NEGLIGENT MISREPRESENTATION

       98.     Plaintiff re-alleges and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.

       99.     At all times relevant to this cause, and as detailed above, the Cook Defendants

negligently provided Plaintiff, Plaintiff’s health care providers, and the general medical

community with false or incorrect information, or omitted or failed to disclose material

information concerning the Cook Celect filter, including, but not limited to, misrepresentations

relating to the following subject areas:


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            a. safety of the Cook Celect filter;

            b. efficacy of the Cook Celect filter;

            c. rate of failure of the Cook Celect filter; and

            d. approved uses of the Cook Celect filter.

        100.    The information distributed by the Cook Defendants to the public, the medical

community and Plaintiff’s health care providers was in the form of reports, press releases,

advertising campaigns, labeling materials, print advertisements, commercial media containing

material representations, which were false and misleading, and contained omissions and

concealment of the truth about the dangers of the use of the Cook Celect filter. These materials

included instructions for use and warning document that was included in the package of the Cook

filter that was implanted into Plaintiff.

        101.    The Cook Defendants’ intent and purpose in making these representations was to

deceive and defraud the public and the medical community, including Plaintiff’s health care

providers and Plaintiff’s agents; to gain the confidence of the public and the medical community,

including Plaintiff’s health care providers and Plaintiff’s agents; to falsely assure them of the

quality of the Cook Celect filter and its fitness for use; and to induce the public and the medical

community, including Plaintiff’s healthcare providers to request, recommend, prescribe, implant,

purchase, and continue to use the Cook Celect filter.

        102.    The foregoing representations and omissions by the Cook Defendants were in fact

false. The Cook Celect filter is not safe, fit, and effective for human use in its intended and

reasonably foreseeable manner. The use of the Cook Celect filter is hazardous to the user’s health,

and said device has a serious propensity to cause users to suffer serious injuries, including without


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limitation, the injuries Plaintiff suffered. Further, the device has a significantly higher rate of

failure and injury than do other comparable devices.

        103.   In reliance upon the false and negligent misrepresentations and omissions made by

the Cook Defendants, Plaintiff, Plaintiff’s agents and Plaintiff’s health care providers were induced

to, and did use the Cook filter, thereby causing Plaintiff to sustain severe and permanent personal

injuries.

        104.   The Cook Defendants knew and had reason to know that Plaintiff, Plaintiff’s health

care providers, Plaintiff’s agents and the general medical community did not have the ability to

determine the true facts intentionally and/or negligently concealed and misrepresented by the Cook

Defendants, and would not have prescribed and implanted same if the true facts regarding the

device had not been concealed and misrepresented by the Cook Defendants.

        105.   The Cook Defendants had sole access to material facts concerning the defective

nature of the product and its propensity to cause serious and dangerous side effects in the form of

dangerous injuries and damages to persons who are implanted with the Cook Celect filter.

        106.   At the time the Cook Defendants failed to disclose and misrepresented the

foregoing facts, and at the time Plaintiff was implanted with the Cook filter, Plaintiff, Plaintiff’s

health care providers and the Plaintiff’s agents were unaware of the Cook Defendants’ negligent

misrepresentations and omissions.

        107.   Plaintiff’s health care providers, the Plaintiff’s agents and general medical

community reasonably relied upon the foregoing misrepresentations and omissions made by the

Cook Defendants where the concealed and misrepresented facts were critical to understanding the

true dangers inherent in the use of the Cook Celect filter.

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       108.    Plaintiff’s health care providers and Plaintiff’s agents’ reliance on the foregoing

misrepresentations and omissions by the Cook Defendants was the direct and proximate cause of

Plaintiff’s injuries as described herein. As a result of the Cook Defendants’ misrepresentations

and omissions, Plaintiff has suffered and will continue to suffer serious physical injuries, pain and

suffering, mental anguish, medical expenses, loss of enjoyment of life, disability, and other losses,

in an amount to be determined at trial.

                                  PUNITIVE DAMAGES CLAIM

       109.    Plaintiff re-alleges and incorporates by reference each and every allegation

contained in the foregoing paragraphs as though fully set forth herein.

       110.    Plaintiff is entitled to an award of punitive and exemplary damages based upon the

Cook Defendants’ intentional, willful, knowing, fraudulent, malicious acts, omissions, and

conduct, as their complete and total disregard for the public safety and welfare constitute actual

malice under Virginia law.

       111.    The Cook Defendants had knowledge of, and were in possession of evidence

demonstrating that, the Cook Celect filter was defective, unreasonably dangerous, and had a

substantially higher failure rate than did other similar devices on the market. Despite their

knowledge, the Cook Defendants failed to, among other purposeful acts, inform or warn Plaintiff,

Plaintiff’s agents, or his health care providers of the dangers, establish and maintain an adequate

quality and post-market surveillance system, and recall the Cook Celect filter from the market.

       112.    As a direct, proximate, and legal result of the Cook Defendants’ acts and omissions

as described herein, Plaintiff has suffered and will continue to suffer serious physical injuries, pain




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and suffering, mental anguish, medical expenses, loss of enjoyment of life, disability, and other

losses, in an amount to be determined at trial.

                                   PRAYER FOR DAMAGES

       WHEREFORE, Plaintiff, Rachel Stanley prays for relief on the entire complaint, as

follows:

       a.      Judgment to be entered against all Cook Defendants on all causes of action of this
               Complaint, including but not limited to:

               1.       Physical pain and suffering in the past and which, in reasonable probability,
                        she will continue to suffer in the future;

               2.       Physical impairment and incapacity in the past and which, in reasonable
                        probability, she will continue to suffer in the future;

               3.       Mental anguish in the past and which, in reasonable probability, she will
                        sustain in the future;

               4.       Reasonable and necessary medical expenses for treatment received in the
                        past and, based upon reasonable medical probability, the reasonable
                        medical expenses she will need in the future;

               5.       Disfigurement in the past and which, in reasonable probability, she will
                        continue to suffer in the future; and,

               6.       Punitive damages.

       b.      Plaintiff be awarded full, fair, and complete recovery for all claims and causes of
               action relevant to this action;

       c.      Plaintiff be awarded all appropriate costs, fees, expenses, and pre-judgment and
               post judgment interest pursuant to the laws of the State of Virginia as authorized by
               law on the judgments entered in Plaintiff’s behalf; and,

       d.      Such other relief the court deems just and proper.

                                  DEMAND FOR JURY TRIAL

       Plaintiff hereby demands trial by jury on all issues.

Dated: July 14, 2021.

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                                   RESPECTFULLY SUBMITTED,


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